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                                                                                    FILED
                         UNITED STATES DISTRICT COURT
                                   FOR THE                                  2 2 OCT 20 PM 4: 09
                             DISTRICT OF VERMONT

MICHAEL JAY DEUSO,                                )
                                                  )
       Plaintiff,                                 )
                                                  )
              V.                                  )      Case No. 2:18-cv-131
                                                  )
SHELBURNE LIMESTONE CORP.,                        )
TRAMP AS DEMERS, DENNIS DEMERS,                   )
                                                  )
       Defendants.                                )

                                         ORDER
       The trial in this matter will be begin on Wednesday, October 21 , 2020. In response
to public health concerns regarding COVID-19, it is hereby ORDERED that lunch shall
be provided by the court for the members of the jury On Wednesday, October 21 , 2020,
and any day(s) thereafter as the court deems necessary for the duration of the trial.
       Dated at Burlington, in the District of Vermont, this   1.."'fkaay of October, 2020.



                                                  ~ud
                                                  United States District Court
